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                    Exhibit 11
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                                                                            888 16th Street, N.W.
                                                                            Suite 300
                                                                            Washington, DC 20006
                                                                            Melinda Coolidge
 March 19, 2024                                                             US Managing Partner
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 CONFIDENTIAL
 VIA ELECTRONIC MAIL

 Gabriel J. Lazarus, Esq.                                  Logan Breed, Esq.
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 glazarus@cgsh.com                                         logan.breed@hoganlovells.com



 Re:     U.S. v. ASSA ABLOY AB, et al., Case No. 1:22-cv-02791-ACR

Dear Gabriel and Logan,

As the Monitoring Trustee in the above-captioned action, I write to ask ASSA ABLOY AB (“ASSA
ABLOY”) to produce certain documents and information. As always, the Monitoring Trustee is bound by
the Protective Order and will treat any documents and information produced by ASSA ABLOY as
“Confidential Information” pursuant to the “Engagement Agreement for Services of Melinda R. Coolidge
as Monitoring Trustee” between the Monitoring Trustee and ASSA ABLOY, which was adopted pursuant
to Section X.D of the Final Judgment.

The Monitoring Trustee Team’s specific requests are enclosed with this letter, and we ask ASSA ABLOY
to respond to these requests by the specific dates provided below.

Please let me know if you have any questions about the requests or if you identify any potential hardships
associated with formulating ASSA ABLOY’s responses (including concerns regarding potential claims of
privilege or the burdens of compliance).

Very truly yours,

/s/ Melinda R. Coolidge

Melinda R. Coolidge




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                      DOCUMENT REQUESTS DIRECTED TO ASSA ABLOY


Document Request AA_DR_ 16 (Recurring)


Provide all electronic databases showing all transactions (on an individual transaction-by-transaction basis)
from January 1, 2022, to the present in which you sold a Smart Lock product to any purchaser in the United
States. The data provided should be in its native, machine-readable format and should include, but not be
limited to, the following information:

Invoice/Transaction ID

   1) purchase/sale order number;
   2) the date the purchase order was issued;
   3) the invoice number;
   4) the date when you billed and/or invoiced the Smart Locks to the purchaser;
   5) the terms of each such transaction; and
   6) information sufficient to separate intra-company transactions from sales to external customers.

Product

   7) the brand name, specifications, types, connectivity (e.g., Bluetooth, Wi-Fi, Z-wave), use case (e.g.,
       privacy, passageway), and/or finish of Smart Lock, including but not limited to SKU, part numbers,
       any unique purchaser-specific identifier, and complete product descriptions, you sold in connection
       with each such transaction;
   8) the product groupings and/or hierarchy used by ASSA ABLOY to categorize Smart Locks in the
       ordinary course of business;
   9) the end use of the Smart Locks sold (e.g., whether residential, commercial, or any other
       categorizations you use in the ordinary course of business); and
   10) ASSA ABLOY’s business unit ID and name associated with the Smart Lock sale.

Amount

   11) the quantity of Smart Locks sold in connection with each such transaction;
   12) the unit of measure for quantity fields;
   13) the list and net unit price of the Smart Locks sold in connection with each such transaction;
   14) whether the unit prices listed include any freight, taxes, or other charges and, if so, a breakout of
       those charges;
   15) any discounts, rebates, credits, freight allowances, free goods and/or services, and/or any other
       pricing adjustments you made in connection with each such transaction, with sufficient information
       to attribute/allocate these pricing adjustments back to individual transactions;
   16) the gross and net total amount paid for the Smart Locks sold in connection with each such
       transaction;
   17) the currency and exchange rate information for pricing and value fields, if not US Dollars; and
   18) any costs (e.g., total and per-unit variable costs, fixed costs, semi-variable costs, marginal costs,
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       standard costs) to you associated with the Smart Locks.

Customer/Purchaser

   19) the name, number/ID, and location (city/state) of the purchaser to whom you shipped or delivered
       the Smart Locks;
   20) the name, number/ID, and location (city/state) of the purchaser billed for the Smart Locks;
   21) the name, number/ID, and location (city/state) of the purchaser to whom you sold the Smart Locks;
   22) the name and number/ID of the parent company, when applicable;
   23) whether the purchaser is a residential, commercial, or other customer;
   24) whether the purchaser is a retailer, wholesaler, builder, dealer, integrator, or other customer.
   25) any other information maintained in the ordinary course of business to categorize customers (e.g.,
       market segment, customer tier); and
   26) the suggested retail price of the Smart Locks you sold in connection with each such transaction.


Other information

   27) any other information associated with the transaction(s) tracked in the normal course of business in
       your electronic databases; and
   28) all documents related to the entry, maintenance, and/or interpretation of electronic data identified
       above, including, without limitation, a data dictionary or any other document containing a clear
       description of each field found in any electronic database.


Some of the requested information may reside in separate databases or tables within ASSA ABLOY’s data
warehouses. If such data are produced as separate tables/databases, please ensure corresponding
IDs/crosswalks necessary to link the tables/databases are included.


Requested Due Date: 5pm ET on Thursday April 18, 2024; and twice a year thereafter provide updated
extracts covering the last six months of sales.




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